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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             § No. 4:21-cr-126-JDK-KPJ
                                                §
 KENNIA GOODMAN-LARGAESPADA (3)                 §
 MELONIE MECHELLE JACKSON (7)                   §
 FREDERICK DEWAYNE BRITTON (8)                  §

      ORDER GRANTING UNOPPOSED MOTIONS FOR CONTINUANCE

       The Federal Grand Jury for the Eastern District of Texas indicted Defendants

 Kennia Emperatriz Goodman-Largaespada, Melonie Mechelle Jackson, and

 Frederick Dewayne Britton, Jr. on May 12, 2021. On May 27, 2021, Defendants made

 their initial appearances before U.S. Magistrate Judge Christine A. Nowak. This

 case is currently set for jury selection and trial on August 2, 2021, and the deadline

 for a plea agreement was July 12, 2021. On July 12, 2021, each Defendant moved for

 a continuance, asking the Court to continue the trial and pretrial deadlines in this

 case. Docket Nos. 89, 90, 91. Neither the Government nor the other remaining

 defendants oppose a continuance.

       Defendants each request a continuance because additional time is needed to

 receive and review discovery from the Government and for Defendants to confer with

 their counsel regarding the discovery and case strategy.          Accordingly, each

 Defendant asserts that the “ends of justice . . . outweigh the best interest of the

 public and the Defendant in a speedy trial” pursuant to 18 U.S.C. § 3161(h)(7)(A).




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        The Speedy Trial Act, 18 U.S.C. §§ 3161–74, and Federal Rule of Criminal

 Procedure 18 establish that a speedy trial and the prompt administration of justice

 are desirable ends that weigh against a continuance. Nevertheless, speed is neither

 the paramount, nor the only consideration.           Many other important values may

 conflict with the need for speed in the trial of a criminal case.      Delay in trial that

 promotes the fairness of the trial, as well as the purposes served by the trial, is well

 worth the administrative costs it may impose. Prompt justice must be fair, or it is

 not truly justice.

        Accordingly, the Court finds that a continuance of the pretrial deadlines and

 trial setting is appropriate and necessary. Pursuant to 18 U.S.C. § 3161(h)(7), the

 Court finds that:

        1.      Defendants’   requests   are       made   knowingly,   intelligently,   and

 voluntarily.

        2.      For the reasons stated in Defendants’ motions, the ends of justice

 served by granting Defendants’ requests outweigh the best interests of the public

 and Defendants in a speedy trial.

        3.      Failure to grant a continuance in this case will likely result in a

 miscarriage of justice.

        4.      The period of delay due to this motion for continuance is the period

 from the date of the motion through the date of the new trial setting, and this is

 excludable time under the Speedy Trial Act.




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       IT IS THEREFORE ORDERED that Defendants Kennia Emperatriz

 Goodman-Largaespada, Melonie Mechelle Jackson, and Frederick Dewayne Britton,

 Jr.’s motions to continue are GRANTED. This case is hereby CONTINUED and

 RESET as to Defendants Brandy Fisher, Kennia Emperatriz Goodman-

 Largaespada, Broderick Steven Johnson, Andre Martell Wells, Janin Michelle

 Vasquez, Melonie Mechelle Jackson, and Frederick Dewayne Britton, Jr. with new

 dates and deadlines as follows:

 Deadlines:

          Pretrial Motions Deadline:
                                                    October 12, 2021
          (except Motions for Continuance)
          Deadline to file Motion to Continue or   October 18, 2021 by
          notify Court of plea agreement:              12:00 p.m.

 Court Settings:

           Pretrial Conference:        November 8, 2021 at 1:30 p.m.
           Jury Selection and Trial:   November 15, 2021 at 9:00 a.m.




           Signed this
           Jul 13, 2021




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